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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )    CASE NO. 2:11-cr-00096-JAM
                                           )
12                      Plaintiff,         )    AMENDED STIPULATION AND ORDER
                                           )
13   v.                                    )    DATE: January 22, 2013
                                           )    TIME: 9:45 a.m.
14   ALEJANDRO FLETES-LOPEZ, et al.,       )    COURT: Hon. John A. Mendez
                                           )
15                      Defendants.        )
                                           )
16                                         )
                                           )
17
18        IT IS HEREBY STIPULATED by and between the parties hereto
19   through their respective counsel, Michael Beckwith and Paul Hemesath,
20   Assistant United States Attorneys, attorneys for plaintiff; Arturo
21   Hernandez, attorney for defendant Alejandro Fletes-Lopez; Kenny
22   Giffard and Donald Masuda, attorneys for defendant Irma Gonzalez; Tim
23   Pori, attorney for defendant Orlando Fletes-Lopez; Christopher
24   Haydn-Myer, attorney for defendant Jesus Sanchez-Lopez; Olaf Hedberg,
25   attorney for defendant German Velazquez; Dina Santos, attorney for
26   defendant Mauricio Portillo; Gilbert Roque, attorney for defendant
27   Guadalupe Reyes-Ontiveros; Hayes Gable, III, attorney for defendant
28   Diana Hernandez-Gonzalez, and Chris Cosca, attorney for Miguel

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 1   Corona-Soria, that the previously-scheduled status conference date of
 2   January 22, 2013, be vacated and the matter set for status conference
 3   on February 26, 2013, at 9:45 a.m.
 4        This request is made jointly by the government and defense in
 5   order to permit time for continued preparation, including
 6   investigation, which is currently in progress, and plea negotiations.
 7    The parties agree that the interests of justice served by granting
 8   this continuance outweigh the best interests of the public and the
 9   defendant in a speedy trial.      18 U.S.C. § 3161(h)(7)(A).
10        Further, the parties agree and stipulate the ends of justice
11   served by the granting of such a continuance outweigh the best
12   interests of the public and the defendants in a speedy trial and that
13   time within which the trial of this case must be commenced under the
14   Speedy Trial Act should therefore be excluded under 18 U.S.C.
15   sections 3161(h)(7)(A) and (B)(iv), corresponding to Local Codes T2
16   [complex case] and T4 [reasonable time for defense counsel to
17   prepare], from January 22, 2013, to and including February 26, 2013.
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19
     Dated: January 18, 2013                 /s/ Paul Hemesath
20                                           Paul Hemesath
                                             Assistant United States Attorney
21                                           Counsel for Plaintiff
22
     Dated: January 18, 2013                 /s/ Ken Giffard
23                                           KEN GIFFARD
                                             Attorney for Defendant
24                                           IRMA GONZALEZ
25
     Dated: January 18, 2013                 /s/ Christopher Haydn-Myer
26                                           CHRISTOPHER HAYDN-MYER
                                             Attorney for Defendant
27                                           JESUS SANCHEZ-LOPEZ
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 1   Dated: January 18, 2013                 /s/ Arturo Hernandez
                                             ARTURO HERNANDEZ
 2                                           Attorney for Defendant
                                             ALEJANDRO FLETES-LOPEZ
 3
     Dated: January 18, 2013                 /s/ Olaf Hedberg
 4                                           OLAF HEDBERG
                                             Attorney for Defendant
 5                                           GERMAN GONZALEZ VELAZQUEZ
 6   Dated: January 18, 2013                 /s/ Dina Santos
                                             DINA SANTOS
 7                                           Attorney for Defendant
                                             MAURICIO PORTILLO
 8
     Dated: January 18, 2013                 /s/ Gilbert Roque
 9                                           GILBERT ROQUE
                                             Attorney for Defendant
10                                           GUADALUPE REYES-ONTIVEROS
11   Dated: January 18, 2013                 /s/ Hayes Gable, III
                                             HAYES GABLE, III
12                                           Attorney for Defendant
                                             DIANA HERNANDEZ-GONZALEZ
13
     Dated: January 18, 2013                 /s/ Tim Pori
14                                           TIM PORI
                                             Attorney for Defendant
15                                           ORLANDO FLETES-LOPEZ
16
     Dated: January 18, 2013                 /s/ Chris Cosca
17                                           CHRIS COSCA
                                             Attorney for Defendant
18                                           MIGUEL CORONA-SORIA
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 1                                     O R D E R
 2        The Court, having received, read, and considered the stipulation
 3   of the parties, and good cause appearing therefrom, adopts the
 4   stipulation of the parties in its entirety as its order.              Based on
 5   the stipulation of the parties and the recitation of facts contained
 6   therein, the Court finds that it is unreasonable to expect adequate
 7   preparation for pretrial proceedings and trial itself within the time
 8   limits established in 18 U.S.C. section 3161.         In addition, the Court
 9   specifically finds that the failure to grant a continuance in this
10   case would deny defense counsel to this stipulation reasonable time
11   necessary for effective preparation, taking into account the exercise
12   of due diligence.    The Court finds that the ends of justice to be
13   served by granting the requested continuance outweigh the best
14   interests of the public and the defendants in a speedy trial.
15        The Court orders that the time from January 22, 2013, up to and
16   including February 26, 2013, shall be excluded from computation of
17   time within which the trial of this case must be commenced under the
18   Speedy Trial Act, pursuant to 18 U.S.C. sections 3161(h)(7)(A) and
19   (B)(iv), and Local Codes T2 [complex case] and T4 [reasonable time
20   for defense counsel to prepare].      It is further ordered that the
21   January 22, 2013, status conference shall be continued until February
22   26, 2013, at 9:45 a.m.
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     Dated: 1/18/2013                        /s/ John A. Mendez
24                                           Hon. John A. Mendez
                                             United States District Court Judge
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